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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND
                                     NORTHERN DIVISION

                                                       :
Charles Nyarko, Lori Evans, Kelly                      :
                                                         Civil Action No.: 1:18-cv-03618-RDB
Rutherford, Ronald McKeever, John Michael              :
Albert, Aziz Berraoui, Kathy Swann,                    :
Sharon Inghram, Rita Clinton, Laron Morgan,            :
Caroline Chepkwony, Kevan Lee and Kevin                :
Daniels,                                               :
                                                         FIRST AMENDED COMPLAINT
                      Plaintiffs,                      :
              vs.                                      :
                                                       :
BMW of North America, LLC,                             :
                                                       :
                           Defendant.                  :
                                                       :


         For this First Amended Complaint, the Plaintiffs1 Charles Nyarko, Lori Evans, Kelly

Rutherford, Ronald McKeever, John Michael Albert, Aziz Berraoui, Kathy Swann, Sharon

Inghram, Rita Clinton, Laron Morgan, Caroline Chepkwony, Kevan Lee and Kevin Daniels,

by undersigned counsel, state as follows:

                                     PRELIMINARY STATEMENT

         1.       This is a group action by the purchasers of vehicles (hereafter the “subject

vehicles”) manufactured and sold by the Defendant BMW of North America, LLC. Plaintiffs

seek damages related to their vehicles’ excessive consumption of engine oil and Defendant’s

failure to honor the terms of its warranty.

         2.       The Plaintiffs would not have purchased the subject vehicles had they been

made aware of the subject vehicles’ defective engines.




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 Additional Plaintiffs may be added at a later date.
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                                JURISDICTION AND VENUE

        3.     This Court has subject matter jurisdiction over this matter pursuant to the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2310(d)(1)(B), in that the Plaintiffs claim more

than $50,000.00 in damages, exclusive of interest and costs, and under the doctrine of

supplemental jurisdiction as set forth in 28 U.S.C. § 1367.

        4.     In addition, this Court has subject matter jurisdiction over this matter pursuant

to 28 U.S.C. § 1332(a) in that there is complete diversity of citizenship between the parties

and the amount in controversy exceeds $75,000.00.

        5.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(1) as

Defendant is subject to personal jurisdiction in this District and Defendant, as principal,

directs and controls warranty repairs on covered vehicles through its agents consisting of a

dealership network located in this District.

        6.     Further, venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(2)

in that a substantial part of the events giving rise to the Plaintiffs’ claims occurred within this

District.

                                            PARTIES

        7.     Plaintiffs were, at all relevant times, adult individuals who either reside in

Maryland or who purchased motor vehicles in Maryland which were manufactured or sold by

Defendant.

        8.     Defendant BMW of North America, LLC (“BMW-NA” or “BMW”) is

organized under the laws of Delaware with its principal place of business located at 300

Chestnut Ridge Road, Woodcliff, New Jersey. BMW-NA was created in 1975 to act as the

United States importer of BMW luxury and performance vehicles, which were traditionally



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manufactured in Munich, Germany. At all relevant times, BMW was engaged in the business

of importing, assembling, marketing, distributing, and warranting BMW automobiles in the

State of Maryland and throughout the United States.

        9.    BMW-NA sells BMW vehicles through a network of independently owned

dealerships across the United States that are agents of BMW-NA.

       FACTUAL ALLEGATIONS APPLICABLE TO INDIVIDUAL PLAINTIFFS

  I.    Charles Nyarko

        10.   Plaintiff Charles Nyarko (hereafter “C. Nyarko”) is an adult individual residing

in Baltimore, Maryland.

        11.   On or about March 20, 2015, C. Nyarko purchased a used 2010 BMW 550i

Gran Turismo, Vehicle Identification Number WBASN4C56AC209166 (hereafter the “C.

Nyarko Vehicle”) from Cherner Brothers Auto Sales in Kensington, Maryland.

        12.   The total sales price for the C. Nyarko Vehicle was $27,998.00.

        13.   Within several months after purchasing the C. Nyarko Vehicle, C. Nyarko

observed that it consumed an excessive amount of engine oil which required him to add one

quart of oil every 1,000 to 1,500 miles, well before the Defendant’s recommended oil change

intervals.

        14.   C. Nyarko complained to BMW of Towson (“Towson”) in Towson, Maryland,

an authorized dealer of the Defendant, throughout the warranty period that the C. Nyarko

Vehicle consumed an excessive amount of engine oil.

        15.   Initially, Towson told C. Nyarko “that is just how the engine runs.”

        16.   After making several more complaints to Towson, C. Nyarko was told the C.

Nyarko Vehicle’s engine would have to be replaced.



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       17.     As a result of the C. Nyarko Vehicle’s excessive consumption of engine oil, C.

Nyarko had to add engine oil to the C. Nyarko Vehicle in between the Defendant’s

recommended oil change intervals in an effort to prevent the vehicle’s engine from failing and

avoid having to change the engine.

       18.     Moreover, C. Nyarko has paid approximately $720 in out-of-pocket costs

associated with the C. Nyarko Vehicle’s excessive engine oil consumption; he continues to

incur these costs on a monthly basis.

 II.   Lori Evans

       19.     Plaintiff Lori Evans (hereafter “L. Evans”) is an adult individual residing in

Pasadena, Maryland.

       20.     On or about March 2, 2014, L. Evans purchased a used 2011 BMW 7 Series

750LXi, Vehicle Identification Number WBAKC8C52BC434277 (hereafter the “L. Evans

Vehicle”) from BMW of Annapolis in Annapolis, Maryland, an authorized dealer of

Defendant.

       21.     After purchasing the L. Evans Vehicle, L. Evans observed that it consumed an

excessive amount of engine oil which required her to add one quart of oil every 300 to 400

miles, well before the Defendant’s recommended oil change intervals.

       22.     During the warranty period, L. Evans complained to Defendant’s authorized

dealer that the L. Evans Vehicle consumed an excessive amount of engine oil.

       23.     In response, L. Evans was told “it is the 7 series and that’s normal.”

       24.     As a result of the L. Evans Vehicle’s excessive consumption of engine oil, L.

Evans had to add engine oil to the L. Evans Vehicle in between the Defendant’s

recommended oil change intervals in an effort to prevent the vehicle’s engine from failing.



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III.    Kelly Rutherford

        25.    Plaintiff Kelly Rutherford (hereafter “K. Rutherford”) is an adult individual

residing in Essex, Maryland.

        26.    On or about November 16, 2010, K. Rutherford purchased a used 2009 BMW

750Li, Vehicle Identification Number WBAKB83569CY57313 (hereafter the “K. Rutherford

Vehicle”) from Russell BMW in Baltimore, Maryland, an authorized dealer of Defendant.

        27.    The total sale price for the K. Rutherford Vehicle was $94,776.00, including

options, fees, taxes, and other charges.

        28.    Shortly after purchasing the K. Rutherford Vehicle, K. Rutherford observed

that it consumed an excessive amount of engine oil which required her to add one to two

quarts of oil every 1,500 miles (and to carry extra oil in the vehicle), well before the

Defendant’s recommended oil change intervals.

        29.    Beginning on December 10, 2010, less than a month after purchasing the K.

Rutherford vehicle, Terry Rutherford (hereinafter “Terry”), K. Rutherford’s husband and the

person primarily responsible for maintaining the vehicle, notified BMW of Catonsville and

BMW of Towson, both of which are Defendant’s authorized dealerships, that the K.

Rutherford Vehicle consumed an excessive amount of engine oil.

        30.    In response, Terry was told the oil consumption was normal for the K.

Rutherford Vehicle and no repair was ever offered.

        31.    Every time Terry took the K. Rutherford Vehicle to one of Defendant’s

authorized dealers during the warranty period, Terry complained about the oil consumption

issue and but was consistently told that the oil consumption was normal and was never offered

a repair.



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       32.      As a result of the K. Rutherford Vehicle’s excessive consumption of engine oil,

K. Rutherford and Terry had to add engine oil to the K. Rutherford Vehicle in between the

Defendant’s recommended oil change intervals in an effort to prevent the vehicle’s engine

from failing.

       33.      K. Rutherford has paid approximately $7,800 in out-of-pocket costs and repairs

associated with the K. Rutherford Vehicle’s excessive engine oil consumption.

IV.    Ronald McKeever

       34.      Plaintiff Ronald McKeever (hereafter “R. McKeever”) is an adult individual

residing in Gwynn Oak, Maryland.

       35.      On or about September 22, 2014, R. McKeever purchased a used 2013 BMW 5

Series 550xi, Vehicle Identification Number WBAFU9C52DDY71293 (hereafter the “R.

McKeever Vehicle”) from Antwerpen Toyota in Clarksville, Maryland.

       36.      The total sales price for the R. McKeever Vehicle was $73,556.64, including

options, fees, taxes, and other charges.

       37.      Within several months after purchasing the R. McKeever Vehicle, R.

McKeever observed that it consumed an excessive amount of engine oil which required him

to add one quart of oil every 1,200 to 1,500 miles, well before the Defendant’s recommended

oil change intervals.

       38.      On December 10, 2014 and during the warranty period, R. McKeever took the

R. McKeever Vehicle into BMW of Catonsville in Catonsville, Maryland, an authorized

dealer of the Defendant, because the vehicle’s “check engine” light was illuminated. At that

time, R. McKeever explained to the dealer that the R. McKeever Vehicle was consuming an

excessive amount of engine oil.



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        39.      In response, R. McKeever was told that the oil consumption was due to the

model of the vehicle, “that’s normal.” The dealer went on to tell R. McKeever “if he had

bought a more expensive model he wouldn’t have an oil consumption problem.” No repair

was offered.

        40.      R. McKeever returned to the dealer several times thereafter with complaints of

low oil level.

        41.      As a result of the R. McKeever Vehicle’s excessive consumption of engine oil,

R. McKeever had to add engine oil to the R. McKeever Vehicle in between the Defendant’s

recommended oil change intervals in an effort to prevent the vehicle’s engine from failing.

 V.     John Michael Albert

        42.      Plaintiff John Michael Albert (hereafter “J. Albert”) is an adult individual

residing in Annapolis, Maryland.

        43.      On or about December 22, 2012, J. Albert purchased a new 2013 BMW 750Li,

Vehicle Identification Number WBAYE8C53DDE22031 (hereafter the “J. Albert Vehicle”)

from BMW of Alexandria in Alexandria, Virginia, an authorized dealer of Defendant.

        44.      The total sales price for the J. Albert Vehicle was $95,534.00, including

options, fees, taxes, and other charges.

        45.      After purchasing the J. Albert Vehicle and before the first scheduled oil

change, J. Albert observed that the vehicle consumed an excessive amount of engine oil which

required him to add two quarts of oil every 6,000 to 7,000 miles.

        46.      During the warranty period, J. Albert complained to BMW of Annapolis,

Maryland, one of Defendant’s authorized dealers (before the J. Albert Vehicle’s first oil




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change) and was told that the vehicle’s oil consumption was normal. No repairs for the oil

consumption issue were offered by the dealer.

        47.    On or about December 9, 2017, Defendant’s authorized dealer repaired

turbochargers that leaked oil, but J. Albert Vehicle continued to suffer from excessive

consumption of engine oil.

        48.    As a result of the J. Albert Vehicle’s excessive consumption of engine oil, J.

Albert had to add engine oil to the J. Albert Vehicle in between the Defendant’s

recommended oil change intervals in an effort to prevent the vehicle’s engine from failing.

VI.     Aziz Berraoui

        49.    Plaintiff Aziz Berraoui (hereafter “A. Berraoui”) is an adult individual residing

in Baldwin, Maryland.

        50.    On or about May 20, 2013, A. Berraoui purchased a used 2013 BMW X6,

Vehicle Identification Number 5UXFG8C57DL591233 (hereafter the “A. Berraoui Vehicle”)

from Russell BMW in Baltimore, Maryland, an authorized dealer of Defendant.

        51.    The total sales price for the A. Berraoui Vehicle was $80,689.12, including

options, fees, taxes, and other charges.

        52.    Within the first month after purchasing the A. Berraoui Vehicle, A. Berraoui

observed that it consumed an excessive amount of engine oil which required him to add one to

two quarts of oil every 500 miles, well before the Defendant’s recommended oil change

intervals.

        53.    At that time and during the warranty period, A. Berraoui notified Defendant’s

authorized dealer that the A. Berraoui Vehicle consumed an excessive amount of engine oil.




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       54.     In response, A. Berraoui was told “that’s normal, keep adding oil,” and

accordingly, no repair was offered to A. Berraoui for the vehicle’s consumption of engine oil.

       55.     As a result of the A. Berraoui Vehicle’s excessive consumption of engine oil,

A. Berraoui had to add engine oil to the A. Berraoui Vehicle in between the Defendant’s

recommended oil change intervals in an effort to prevent the vehicle’s engine from failing.

       56.     A. Berraoui has paid approximately $1,475 in out-of-pocket costs and repairs

associated with the A. Berraoui Vehicle’s excessive engine oil consumption.

VII.   Kathy Swann

       57.     Plaintiff Kathy Swann (hereafter “K. Swann”) is an adult individual residing in

East New Market, Maryland.

       58.     On or about October 10, 2015, K. Swann purchased a certified pre-owned

BMW 2012 BMW X5 XDrive 50i, Vehicle Identification Number 5UXZV8C59CL425992

(hereafter the “K. Swann Vehicle”) from I.G. Burton BMW in Milford, Delaware, an

authorized dealer of Defendant.

       59.     The total sales price for the K. Swann Vehicle was $50,325.44, including

options, fees, taxes, and other charges.

       60.     Within several months after purchasing the K. Swann Vehicle, K. Swann

observed that it consumed an excessive amount of engine oil which required her to add one

quart of oil every 500 miles (more often less than 500 miles), well before the Defendant’s

recommended oil change intervals.

       61.     On February 9, 2016 and during the warranty period, K. Swann first

complained to I.G. Burton BMW, one of Defendant’s authorized dealers, that the low oil light




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 on the K. Swann Vehicle was illuminated and that it consumed an excessive amount of engine

 oil.

        62.     In response, the dealer verified that the low oil light was on because the engine

 oil level was low. The dealer topped off the oil to the “proper level,” and told K. Swann that

 with “the type of engine you have, as you get more miles on it, it does this,” meaning

 consume oil.

        63.     Other than topping off the K. Swann Vehicle’s engine oil, no repair was

 offered to K. Swann for the vehicle’s consumption of engine oil.

        64.     As a result of the K. Swann Vehicle’s excessive consumption of engine oil, K.

 Swann had to add engine oil to the K. Swann Vehicle in between the Defendant’s

 recommended oil change intervals in an effort to prevent the vehicle’s engine from failing.

        65.     K. Swann has paid approximately $1,400 in out-of-pocket costs and repairs

 associated with the K. Swann Vehicle’s excessive engine oil consumption.

VIII.   Sharon Inghram

        66.     Plaintiff Sharon Inghram (hereafter “S. Inghram”) is an adult individual

 residing in Hanover, Maryland.

        67.     On or about April 2, 2011, S. Inghram purchased a used 2010 BMW 7 Series

 750Li, Vehicle Identification Number WBAKB8C51ACY63119 (hereafter the “S. Inghram

 Vehicle”) from BMW of Fairfax in Fairfax, Virginia, an authorized dealer of Defendant.

        68.     The total sales price for the S. Inghram Vehicle was $77,133.59, including

 options, fees, taxes, and other charges.

        69.     Approximately two years after purchasing the S. Inghram Vehicle, S. Inghram

 observed that it consumed an excessive amount of engine oil which required her to add two



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quarts of oil every 1,000 miles, well before the Defendant’s recommended oil change

intervals.

        70.    On October 3, 2013, and during the warranty period, S. Inghram complained to

BMW of Catonsville, one of Defendant’s authorized dealerships, that the low oil light comes

on after driving 15 to 20 miles, usually during highway driving.

        71.    In response, the dealer verified that the engine oil level was low and topped off

the oil with one quart. No repair was offered to S. Inghram for her vehicle’s oil consumption.

        72.    When S. Inghram again complained about the oil consumption issue, she was

told by BMW of Catonsville that it was “normal” and the dealer merely offered to top off the

oil. Again, no vehicle repair was offered to S. Inghram for the oil consumption issue.

        73.    As a result of the S. Inghram Vehicle’s excessive consumption of engine oil, S.

Inghram had to add engine oil to the S. Inghram Vehicle in between the Defendant’s

recommended oil change intervals in an effort to prevent the vehicle’s engine from failing.

        74.    S. Inghram has paid approximately $625 in out-of-pocket costs and repairs

associated with the S. Inghram Vehicle’s excessive engine oil consumption.

IX.     Rita Clinton

        75.    Plaintiff Rita Clinton (hereafter “R. Clinton”) is an adult individual residing in

Clinton, Maryland.

        76.    On or about May 5, 2012, R. Clinton purchased a new 2012 BMW 7 Series

750LXi, Vehicle Identification Number WBAKC8C52CC437665 (hereafter the “R. Clinton

Vehicle”) from Passport BMW in Marlow Heights, Maryland, an authorized dealer of

Defendant.




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        77.    The total sales price for the R. Clinton Vehicle was $128,713.40, including

options, fees, taxes, and other charges.

        78.    Within several months after purchasing the R. Clinton Vehicle, R. Clinton

observed that it consumed an excessive amount of engine oil which required her to add one

quart of oil every 4,000 miles, well before the Defendant’s recommended oil change intervals.

        79.    On November 7, 2012, and during the warranty period, Thomas Clinton

(hereinafter “Thomas”), R. Clinton’s husband and the person primarily responsible for

maintaining the vehicle, took the R. Clinton Vehicle to Passport BMW, an authorized dealer

of Defendant, and complained that the low oil message was illuminated. Thomas explained to

the dealer that he had topped off the oil but wanted to make sure everything was alright.

        80.    In response, the dealer checked the R. Clinton Vehicle’s oil level and checked

for oil leaks. The dealer verified to Thomas that the oil level was “ok”, no oil leaks were

found, concluded “no problems at this time,” and offered no repairs in relation to the

vehicle’s oil consumption.

        81.    During the warranty period, R. Clinton and Thomas complained many times to

Defendant’s authorized dealer about the vehicle’s oil consumption but the dealer did nothing

to help fix the problem.

        82.    At one point R. Clinton and Thomas complained about the R. Clinton Vehicle

emitting smoke and the dealer’s manager told R. Clinton “to disregard it until it gets really

bad.”

        83.    As a result of the R. Clinton Vehicle’s excessive consumption of engine oil, R.

Clinton had to add engine oil to the R. Clinton Vehicle in between the Defendant’s

recommended oil change intervals in an effort to prevent the vehicle’s engine from failing.



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 X.    Laron Morgan

       84.     Plaintiff Laron Morgan (hereafter “L. Morgan”) is an adult individual residing

in Waldorf, Maryland.

       85.     On or about September 14, 2013, L. Morgan purchased a used 2010 BMW

750LXi, Vehicle Identification Number WBAKC8C5XACY68543 (hereafter the “L. Morgan

Vehicle”) from Mile One Tischer Auto Park in Silver Spring, Maryland.

       86.     The total sales price for the L. Morgan Vehicle was $57,247.20, including

options, fees, taxes, and other charges.

       87.     Shortly after purchasing the L. Morgan Vehicle, L. Morgan observed that it

consumed an excessive amount of engine oil which required him to add one quart of oil every

200 miles, well before the Defendant’s recommended oil change intervals.

       88.     During the warranty period and within six months of purchasing the L. Morgan

Vehicle, L. Morgan complained to a Defendant’s authorized dealership about the subject

vehicle’s excessive oil consumption.

       89.     In response, the dealer told L. Morgan that the oil consumption was normal

and offered no repairs in relation to the vehicle’s oil consumption.

       90.     As a result of the L. Morgan Vehicle’s excessive consumption of engine oil, L.

Morgan had to add engine oil to the L. Morgan Vehicle in between the Defendant’s

recommended oil change intervals in an effort to prevent the vehicle’s engine from failing.

       91.     L. Morgan has paid approximately $25,000 in out-of-pocket costs and repairs

associated with the L. Morgan Vehicle’s excessive engine oil consumption.




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XI.    Caroline Chepkwony

       92.     Plaintiff Caroline Chepkwony (hereafter “C. Chepkwony”) is an adult

individual residing in Silver Spring, Maryland.

       93.     On or about November 13, 2010, C. Chepkwony purchased a new 2009 BMW

X6 XDrive 50i Vehicle Identification Number 5UXFG83529LZ93555 (hereafter the “C.

Chepkwony Vehicle”) from BMW of Fairfax in Fairfax, Virginia, an authorized dealer of

Defendant.

       94.     The total sales price for the C. Chepkwony Vehicle was $61,842.75, including

options, fees, taxes, and other charges.

       95.     In early 2011, within several months after purchasing the C. Chepkwony

Vehicle and during the warranty period, C. Chepkwony and her husband, Moses Omweno

(hereinafter “Moses”) (the person primarily responsible for maintaining the subject vehicle)

observed that it consumed an excessive amount of engine oil which required them to add two

quarts of oil every 300 miles, well before the Defendant’s recommended oil change intervals.

       96.     Moses complained to each of the following authorized dealerships of the

Defendant throughout the warranty period that the C. Chepkwony Vehicle consumed an

excessive amount of engine oil: Habberstad BMW in Huntington Station, NY, BMW of

Rockville in Rockville, MD, BMW of Silver Spring in Silver Spring, MD, Baron BMW in

Merriam, KS and Circle Motorsport, Inc. in Eatontown, NJ.

       97.     In response, C. Chepkwony and Moses were told their vehicle’s excessive oil

consumption was “normal for big engines.” Other than replacing a cracked tube that leaked

some oil, no repair was offered by any of the authorized dealerships for the vehicle’s

consumption of engine oil.



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        98.      As a result of the C. Chepkwony Vehicle’s excessive consumption of engine

oil, C. Chepkwony and Moses had to add engine oil to the C. Chepkwony Vehicle in between

the Defendant’s recommended oil change intervals in an effort to prevent the vehicle’s engine

from failing.

        99.      C. Chepkwony has paid approximately $34,722.77 in out-of-pocket costs and

repairs associated with the C. Chepkwony Vehicle’s excessive engine oil consumption.

XII.    Kevan Lee

        100.     Plaintiff Kevan Lee (hereafter “K. Lee”) is an adult individual residing in

Great Mills, Maryland.

        101.     On or about July 29, 2014, K. Lee purchased a used 2012 BMW 750LXi

Vehicle Identification Number WBAKC8C50CC435025 (hereafter the “K. Lee Vehicle”)

from Passport BMW in Marlow Heights, Maryland, an authorized dealer of Defendant.

        102.     The total sales price for the K. Lee Vehicle was $67,673.60, , including

options, fees, taxes, and other charges.

        103.     In early 2015, and during the warranty period, K. Lee observed that the K. Lee

Vehicle consumed an excessive amount of engine oil which required him to add one to two

quarts of oil every 8,000 to 12,000 miles, before the Defendant’s recommended oil change

intervals.

        104.     K. Lee complained to BMW of Annapolis, an authorized dealer of the

Defendant, during the warranty period that the K. Lee Vehicle consumed an excessive amount

of engine oil.

        105.     In response, K. Lee was told “that car normally burns one quart of oil a year,”

and accordingly; no repair was offered for the vehicle’s consumption of engine oil.



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           106.   On or about January 18, 2017, in response to K. Lee’s complaint to BMW of

 Catonsville that his vehicle continues to consume an excessive amount of engine oil, the

 dealer replaced valve seals but charged an extended warranty company and K. Lee for the

 repair.

           107.   As a result of the K. Lee Vehicle’s excessive consumption of engine oil, K.

 Lee had to add engine oil to the K. Lee Vehicle in between the Defendant’s recommended oil

 change intervals in an effort to prevent the vehicle’s engine from failing.

           108.   K. Lee has paid approximately $2,000 in out-of-pocket costs and repairs

 associated with the K. Lee Vehicle’s excessive engine oil consumption.

XIII.      Kevin Daniels

           109.   Plaintiff Kevin Daniels (hereafter “K. Daniels”) is an adult individual residing

 in Oxon Hill, Maryland.

           110.   On or about February 29, 2012, K. Daniels purchased a used 2009 BMW

 750Li Vehicle Identification Number WBAKB83529CY59589 (hereafter the “K. Daniels

 Vehicle”) from BMW of Alexandria in Alexandria, Virginia, an authorized dealer of

 Defendant.

           111.   The total sales price for the K. Daniels Vehicle was $95,327.28, including

 options, fees, taxes, and other charges.

           112.   Within two months after purchasing the K. Daniels Vehicle, K. Daniels

 observed that the vehicle consumed an excessive amount of engine oil which required him to

 add several quarts of oil every 200 to 300 miles, well before the Defendant’s recommended

 oil change intervals. K. Daniels also noticed smoke coming out of the vehicle’s exhaust pipe.




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         113.   During the warranty period, K. Daniels complained to BMW of Alexandria,

an authorized dealer of the Defendant, that the K. Daniels Vehicle consumed an excessive

amount of engine oil.

         114.   In response, K. Daniels was told that the K. Daniels Vehicle has “a big engine,

you have to feed it oil,” and accordingly, no repair was offered for the vehicle’s consumption

of engine oil and the subject vehicle continued to burn an excessive amount of engine oil and

emit smoke from its exhaust pipe.

         115.   In or around August and September 2017, K. Daniels took the subject vehicle

in to BMW of Alexandria again complaining that smoke was coming out of the K. Daniels

Vehicle’s exhaust pipe when sitting in idle. Upon inspection a “substantial oil leak was found

coming from the engine’s bottom end or rear end covers,” and further investigation was

needed to determine the true source of the leak.

         116.   The oil leak was not fixed and the K. Daniels Vehicle continues to consume an

excessive amount of engine oil which requires D. Daniels to add five quarts of oil every 200

miles.

         117.   As a result of the K. Daniels Vehicle’s excessive consumption of engine oil, K.

Daniels had and continues to add engine oil to the K. Daniels Vehicle in between the

Defendant’s recommended oil change intervals in an effort to prevent the vehicle’s engine

from failing.

         118.   K. Daniels has paid approximately $500 in out-of-pocket costs and repairs

associated with the K. Daniels Vehicle’s excessive engine oil consumption.




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           FACTUAL ALLEGATIONS APPLICABLE TO ALL PLAINTIFFS

       119.    Defendant manufactured and placed into the stream of commerce each of the

aforementioned vehicles (the subject vehicles), which the Plaintiffs subsequently purchased.

       120.    At the time Plaintiffs purchased the subject vehicles, Defendant made

representations as to the subject vehicles’ performance and quality and assured the Plaintiffs

that the subject vehicles were free from defects of workmanship.

       121.    Prior to purchasing their vehicles, all Plaintiffs relied upon Defendant’s

representations regarding Defendant’s New Vehicle Limited Warranty that accompanied the

sale of their vehicles, including the representation that Defendant would repair their vehicles’

engines; these representations were material to Plaintiffs’ decision to purchase their vehicles.

       122.    Specifically, under its New Vehicle Limited Warranty, Defendant promised to

repair or replace components found to be defective in material or workmanship during the 4-

year / 50,000-mile following such vehicle delivery to consumer.

       123.    Defendant’s authorized dealers expressly assented to perform warranty repairs

on the subject vehicles, necessary to bring Defendant in compliance with the Defendant’s

express warranty.

       124.    Defendant controls the execution of all warranty repairs by its dealers, as it

provides training, materials, special tools, diagnostic software, and replacement parts to its

dealers, and demands that the warranty repairs be performed in strict accordance with its

repair guidelines, Technical Service Bulletins, and other instructions.

       125.    In return, Defendant pays its authorized dealerships monetary compensation

for such warranty repairs.




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       126.    Therefore, Defendant’s authorized dealers are agents for purpose of vehicle

repairs, and knowledge of a defect reported to any such dealer can be imputed to Defendant.

       127.    After purchasing their vehicles, Plaintiffs discovered that, unbeknownst to

them, the subject vehicles’ engines contain a manufacturing defect which causes each of the

subject vehicles to consume engine oil at an extremely rapid rate.

       128.    Moreover, Plaintiffs discovered that as a result of the subject vehicles’ above-

described defect, Plaintiffs were required to regularly add additional engine oil to their

vehicles in between the Defendant’s recommended oil change intervals in order to prevent

their vehicles’ engines from failing and suffering from other related damage.

       129.    In 2008, BMW introduced a new V8, twin-turbocharged engine, which BMW

and enthusiasts refer to as the “N63.” This large, high-performance engine was designed to

be BMW’s next generation V8 and was placed in certain BMW 5 Series, 6 Series, 7 Series,

X5, and X6 vehicles from the 2009 through 2014 model years.

       130.    Upon information and belief, the N63 engine was included on the V8 versions

of the following BMW vehicles:

               F01 and F02 (7 Series Sedan) – produced from 3/2009 to 6/2012
               F04 (Active Hybrid 7) – produced from 4/2010 to 6/2012
               F07 (Gran Turismo) – produced from 9/2009 to 6/2012
               F10 (5 Series Sedan) – produced from 3/2010 to 7/2013
               F12 (6 Series Convertible) – produced from 3/2011 to 7/2012
               F13 (6 Series Coupe) – produced from 7/2011 to 7/2012
               E70 (X5) – produced from 3/2010 to 6/2013
               E71 (X6) – produced from 7/2008 to 6/2014
               E72 (ActiveHybrid X6) – produced from 9/2009 to 9/2011

       131.    The subject vehicles are all equipped with the N63 engine.

       132.    The N63 has become widely known and described as defective throughout the

automotive industry and the BMW-enthusiast community. It is widely recognized that N63



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engines consume excessive amounts of engine oil and require frequent engine repairs,

especially as compared to other, similar vehicles not containing N63 engines.

        133.    Some owners and enthusiasts blame the oil consumption on BMW’s decision

to place the N63’s twin-turbochargers between the cylinder heads, and inside of the engine V,

rather than outside of the engine V, away from sensitive components, where turbochargers are

typically located.

        134.    N63 vehicles are notorious for consuming excessive amounts of engine oil and

frequently need additional engine oil between scheduled oil changes to prevent catastrophic

engine damage or failure.

        135.    The oil consumption defect was particularly apparent in a recent Consumer

Reports study on excessive oil consumption. Consumer Reports studied 498,900 vehicles

across several makes and models for complaints about engine oil consumption and concluded

that BMW’s N63 engine was included on four out of the five most defective vehicles. (See

http://www.consumerreports.org/cro/magazine/2015/06/excessive-oil-consumption/index.htm

(last visited Feb. 5, 2019)).

        136.    The V8 version of the BMW 5 Series, which contained the N63 engine in

2011, 2012, and 2013 model years, was the worst performer in the study with 43 percent of

vehicles needing an additional quart of oil between oil changes as of 2015. BMW’s 6 Series

and 7 Series, many of which contained the N63 engine, are the next worst performers.

Finally, the V8 version of the X5 was the fifth worst performer in the study.

        137.    The Consumer Reports study also shows that a greater percentage of defective

models start to consume oil as they age. This means that large numbers of N63 owners will

begin to experience the oil consumption defect in the near future if they have not already.



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          138.   Many purchasers of vehicles containing the N63 engine have become upset

about the excessive engine oil consumption – which was not disclosed by BMW in the

product literature accompanying the sale of the vehicle – and have posted internet complaints

about specific frustrations and hassles caused by the oil consumption defect.

          139.   For example, one N63 purchaser started a thread entitled, “Excessive oil

consumption” on a BMW enthusiast website in November 2011:

                 So I’m starting to get a little irritated at how much oil my 550 is
                 burning. In the last 6k I’ve had to add 1 quart of oil three times. In
                 other words it is burning a quart every 2000 miles. I’ve read about
                 some people posting about having to add oil before but this
                 much?? I’ve never owned a new car that burned any oil much less
                 at this rate. Anyone else having this issue? Oh btw the car has
                 9120 miles and I put 3100 in Europe during my ED. When I was
                 to have redelivery I had the dealer do an oil change and was gonna
                 change the oil every 7.5k.
(See http://www.bimmerfest.com/forums/showthread.php?t=581072 (last visited Feb. 5,

2019)).

          140.   A fellow BMW enthusiast responded with four separate links about the oil

consumption issue and explained that the defect “was a hot topic back in September” 2011.

(Id.)

          141.   An Internet search of “N63 AND Burning Oil” reveals thousands of similar

complaints regarding the oil consumption defect.2

          142.   BMW had a duty to disclose the oil consumption defect and the associated out-

of-pocket repair costs since the defect poses an unreasonable safety hazard, and because

BMW had exclusive knowledge or access to material facts about N63 vehicles and engines,




2
    See, e.g., http://www.bimmerfest.com/forums/showthread.php?t=581072 (last visited Feb. 5,
2019); http://www.e90post.com/forums/showthread.php?t=874786 (last visited Feb. 5, 2019).
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not known or reasonably discoverable by consumers. Defendant, however, failed to disclose

the defect to consumers prior to or at the time of purchase or lease.

       143.    The oil consumption defect has become so problematic that BMW has issued

several technical service bulletins (“TSBs”) to address complaints of excessive oil

consumption and other problems related to the N63 engine.3

       144.    With regard to the oil consumption issue, BMW issued the following TSBs:

               NHTSA ID Number: 10046859
               Service Bulletin Number: SIB-11-08-12
               Summary: DUE TO DAMAGED SEAL RING, DURING
               ASSEMBLY, ENGINE OIL IS LEAKING FROM ENGINE OIL
               PUMP VOLUME CONTROL VALVE GASKET SEAL RING.
               MODELS E70, E71, F01, F02, F04, F07, F10, F12, F13. NO MODEL
               YEARS LISTED.
               ______________________________________________________
               NHTSA ID Number: 10045282
               Service Bulletin Number: SIB-11-07-12
               Summary: BMW: WHILE DRIVING VEHICLE, AT TIMES
               WOULD BE ROUGH RUNNING; WHITE OR BLUE SMOKE
               SEEN EXITING EXHAUST SYSTEM AND THE ENGINE OIL IS
               CONSUMED ABOVE SPECIFICATIONS.

       145.    In June 2013, BMW issued SIB-11-01-13, which took the extraordinary step of

changing engine oil consumption specifications for N63 vehicles, and specifically instructed

service technicians to add two quarts of engine oil to N63 vehicles when the vehicles instruct

owners to add only one additional quart of oil. (See

http://www.xbimmers.com/forums/showthread.php?p=14449679 (last visited Feb. 5, 2019)).

       146.    Instead of addressing the underlying cause of excessive oil consumption in

order to attempt to fix the defect, BMW recommended that its service technicians simply add

more engine oil to respond to consumer complaints. Technicians were instructed to add two


3
 TSBs are recommended repairs issued by automotive manufacturers and directed only to automotive
dealers. TSBs are frequently issued when a manufacturer receives widespread reports of a particular
problem with its vehicles.
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quarts of engine oil when the vehicles electronic system specifically called for one additional

quart and to also add an additional quart as the default fill on N63 vehicles. While BMW did

not address the underlying problem, it likely reduced the number of complaints because the

engine oil level in the subject vehicles would now be overfilled, a condition that can cause the

engine oil to become aeriated, resulting in potential oil starvation and reduced oil pressure.

       147.    Technical Service Bulletin SIB-11-03-13 appears to be part of a campaign to

conceal the oil consumption defect and represent it as a normal feature of BMW vehicles. To

this effect, BMW issued SIB-11-03-13, which upon information and belief includes the

following:

               Service Bulletin Number: SIB-11-03-13

               Summary: All engines normally consume a certain amount of engine
               oil. This is necessary in order to properly lubricate the cylinder walls,
               pistons, piston rings, valves and turbocharger(s), if equipped. In
               addition, engines with less than 6,000 miles will generally consume
               additional engine oil because the internal engine components are not
               fully seated (break-in). Therefore, engine oil consumption complaints
               received prior to 6,000 miles cannot be considered.

               Once a new or remanufactured engine has accumulated 6,000 miles,
               oil consumption can be considered if there is a drastic change in the
               engine oil consumption rate (e.g., the engine oil consumption rate
               triples) under similar driving conditions.

               Engines equipped with a turbocharger(s) will consume more engine oil
               than normally aspirated engines (non-turbocharged). The additional oil
               that is consumed in a turbocharged engine is mainly due to the
               turbocharger lubrication requirements. Some of the engine oil
               normally migrates past the turbocharger turbine bearing seals and will
               enter the intake tract of the engine.

               All turbocharged engines also require a complex crankcase ventilation
               system. The crankcase ventilation system needs to maintain a small
               vacuum on the crankcase and not allow the crankcase to be
               pressurized. Pressurizing the engine crankcase can lead to external
               engine oil leaks and increased engine oil consumption via the piston
               rings and valve seals. When the load and the boost level of a

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               turbocharged engine is varied, the path of the crankcase pressure is
               changed. During the crankcase ventilation path transition, a small
               amount of engine oil will pass through the crankcase ventilation
               system and is additionally consumed. The additional engine oil
               consumption of a turbocharged engine, as compared to a normally
               aspirated engine, is normal and not a defect.

               Oil Consumption specification:
               - All BMW engines (excluding Motorsport) can consume up to 1 quart
               of engine oil per 750 miles at any time.

               - Due to the increased engine power, all Motorsport engines can
               consume up to 2.5 quarts of engine oil per 1,000 miles at any time.

               Turbocharged Engines:
               Engines that are fitted with a turbocharger(s) will consume more
               engine oil than naturally aspirated engines (non-turbocharged
               engines). In this case, a turbocharged engine could require topping of
               engine oil more frequently. For vehicles with N63 and N63T engines,
               refer to SIB-11-03-13 for additional details.

       148.    BMW included every conceivable driving situation within this Service Bulletin

as a factor for engine oil consumption so as to minimize its own responsibility and/or deflect

blame onto consumers for the oil consumption defect. As can be seen from the TSBs,

Defendant continued to misrepresent to its customers that the rate of oil consumption in the

N63 engines was normal and to be expected in engines that are fitted with turbochargers.

       149.    BMW made these representations notwithstanding that the stated

recommended oil service interval at the time of sale of the subject vehicles was the earlier of

15,000 miles or two years. Of course, at the rate of engine oil consumption referred to in

BMW’s service bulletin, the N63 vehicles would consume nearly 20 quarts of engine oil

between the recommended 15,000-mile oil service intervals. Clearly, there is nothing normal

or expected about this rate of oil consumption.




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        150.    Many N63 purchasers and automobile consumer advocates disagree that this

level of engine oil consumption is normal and instead believe that it is excessive and well

beyond normal.

        151.    Consumer Reports offered its opinion of excessive oil consumption in the

subtitle of its article: Excessive oil consumption isn’t normal: Automakers say adding oil

between scheduled changes is acceptable. It’s not. (See

http://www.consumerreports.org/cro/magazine/2015/06/excessive-oil-consumption/index.htm

(last visited Feb. 5, 2019)).

        152.    Following hundreds of customer complaints about the oil consumption defect

and other problems with N63 vehicles, BMW launched the “N63 Customer Care Package”

(bulletin B001314) on December 29, 2014 (herein, “Customer Care Package”). The Customer

Care Package consisted of several different measures, which merely mask, but do not correct,

the serious design and/or manufacturing defects of the N63 engine including the oil

consumption defect.

        153.    The Customer Care Package instructed service representatives to check each

covered vehicle’s timing chain, fuel injectors, mass air flow sensors, crankcase vent lines,

battery, engine vacuum pump, and low pressure fuel sensor, and replace if necessary. BMW

instructed its service representatives to inspect and replace these components for free, even if

no longer covered by the manufacturer’s standard four-year/50,000 mile warranty.

        154.    Also, BMW had long emphasized the fact that its vehicles can go long periods

without service and sold many N63 vehicles with the promise of a two-year or 15,000 mile

service interval. The Customer Care Package significantly reduced the mileage of its

recommended engine oil change intervals for the subject vehicles. As a result, BMW reduced



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the oil change intervals from the earlier of 15,000/two years to the earlier of 10,000 miles or

one year.

       155.    BMW simultaneously launched the “N63 Customer Loyalty Offer” which

offered purchasers discounts on new BMW vehicles to replace their defective N63 vehicles.

       156.    BMW also launched a related “N63 Customer Appreciation Program,” which

authorized dealerships to provide purchasers with up to $50 of BMW merchandise or

accessories.

       157.    Engine oil is important because it functions as an essential lubricant for the

moving parts in internal combustion engines. The oil creates a film separating surfaces of

adjacent moving parts to minimize direct contact, thereby decreasing heat caused by friction

and reducing wear. Engine oil also has important cleaning and sealing functions, and serves as

an important medium for dissipating heat throughout the engine. As a result, the subject

vehicles need the proper amount of engine oil in order for the engine and its related parts to

function safely.

       158.    As suggested by the N63 Customer Care Package, upon information and belief,

the oil consumption defect impacts several components of N63 vehicles, either via

combustion of excessive amounts of engine oil directly or by causing these components a lack

of appropriate lubrication, which results in these components to prematurely fail and need

frequent replacement.

       159.    The oil consumption defect is a safety concern because it prevents the engine

from maintaining the proper level of engine oil, and causes voluminous oil consumption that

cannot be reasonably anticipated or predicted. Therefore, this oil consumption defect is

unreasonably dangerous because it can cause engine failure while the subject vehicles are in



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operation at any time and under any driving conditions or speeds, thereby exposing the

Plaintiffs, their passengers, and others who share the road with them to serious risk of

accidents and injury.

       160.    Plaintiffs are informed and believe, and based thereon allege that BMW

acquired its knowledge of the oil consumption defect in 2008, if not before, through sources

not available to Plaintiffs, including but not limited to pre-release testing data, durability

testing, early consumer complaints about the oil consumption defect to Defendant and its

dealers, testing conducted in response to those complaints, aggregate data from BMW dealers,

including dealer repair orders and high warranty reimbursement rates, as well as, from other

internal sources.

       161.    Defendant had a duty to disclose the oil consumption defect and the associated

out-of-pocket repair costs to Plaintiffs because the defect poses an unreasonable safety hazard,

and because Defendant had exclusive knowledge or access to material facts about the subject

vehicles that were not known or reasonably discoverable by the Plaintiffs. Defendant,

however, failed to disclose the Oil Consumption Defect to consumers prior to or at the time of

purchase or lease.

       162.    An engine that is starved of oil can seize up and cause the vehicle to shut down

when driven, thus creating for each Plaintiff an unreasonably dangerous circumstance that

may result in a crash.

       163.    The oil consumption defect can be and has been enormously consequential to

Plaintiffs, burdening them with out-of-pocket expenses that would not be necessary but for

such defect and depriving them of their original bargains. First, excessive engine oil

consumption requires additional service visits and increased maintenance costs due to the



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recently decreased oil change intervals, which the Plaintiffs specifically sought to avoid by

purchasing high-end BMW vehicles. Second, the oil consumption defect means that Plaintiffs

must be concerned with obtaining BMW-approved engine oil when needed. If Plaintiffs

continue to drive without adding oil, their vehicles might catastrophically fail and strand them

or potentially cause a life-threatening accident. This discourages Plaintiffs from traveling

long distances in their N63 vehicles or forces them to carry an extra supply of oil. Third,

Plaintiffs will suffer significant loss when they sell the subject vehicles because the reputation

of these vehicles has been impaired by now-public research establishing that these vehicles

suffer from the oil consumption defect.

       164.    Plaintiffs each provided Defendant or one or more of its authorized dealers

with an opportunity to repair the problems with the subject vehicles. Defendant has neglected,

failed, refused or otherwise been unable to repair the substantial impairments to the subject

vehicles within a reasonable amount of time or a reasonable number of attempts.

       165.    The oil consumption defect experienced by the Plaintiffs substantially impairs

the use, value and safety of the subject vehicles to the Plaintiffs.

       166.    The Plaintiffs could not reasonably have discovered said nonconformities with

the subject vehicles prior to Plaintiffs’ acceptance of the vehicles.

       167.    The Plaintiffs would not have purchased the subject vehicles had they known,

prior to the respective times of purchase, that they would be required to regularly purchase

and add large volumes of engine oil to the subject vehicles in order to prevent the subject

vehicles’ engines from failing.




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                       TOLLING OF STATUTE OF LIMITATIONS

  I.    Fraudulent Concealment Tolling

        168.    Plaintiffs did not and could not have known that there was an oil consumption

defect with the subject vehicles’ respective engines at the time that they purchased the subject

vehicles or any time thereafter.

        169.    The breach of warranties four-year statute of limitations, which might

otherwise apply to bar some of the Plaintiffs’ claims, should be tolled because of Defendant’s

knowing and active concealment of the fact that the subject vehicles’ engines contain a defect.

        170.    Defendant had a duty to disclose the oil consumption defect in the Plaintiffs’

vehicles and had a duty to warn the Plaintiffs, who will foreseeably drive their vehicles, of

those dangers, as an engine that is starved of oil can seize up and cause the vehicle to shut

down when driven, thus creating for each Plaintiff an unreasonably dangerous circumstance

that may result in a crash.

        171.    While Defendant issued TSB’s making clear it was aware that there was a

defect with the subject vehicles’ engines, Defendant failed to disclose the existence of the

defect to Plaintiffs at the time of the subject vehicles sale and at the time Plaintiffs presented

their vehicles to Defendant’s authorized dealer for repairs.

        172.    Moreover, Defendant’s authorized dealerships informed all of the Plaintiffs

that the subject vehicles’ excessive consumption of engine oil was normal, rather than the

result of a defect.

        173.    Defendant kept Plaintiffs ignorant of vital information essential to the pursuit

of their claims.

        174.    Defendant knowingly, affirmatively, and actively concealed the subject

vehicles’ defect from the Plaintiffs.
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       175.    Defendant was aware of the defect with the subject vehicles.

       176.    Based upon the foregoing, Defendant is estopped from relying on any statutes

of limitations in defense of this action.

 II.   Discovery Rule Tolling

       177.    Plaintiffs could not have discovered through the exercise of reasonable

diligence that their vehicles contained the oil consumption defect within the time period of

any applicable statutes of limitation.

       178.    Plaintiffs did not know the engines in their respective vehicles were defective

when they purchased their vehicles. Plaintiffs did not and could not have known that the SIB-

11-01-13 and the N63 Customer Care Package campaigns did not cure the oil consumption

defect and left the subject vehicles engines vulnerable to catastrophic failure in the course of

their normal operation.

       179.    Although Defendant launched the SIB-11-01-13 and the N63 Customer Care

Package campaigns for the subject vehicles, the campaigns were limited in scope, and

consumers were not informed that that the campaigns would not cure the oil consumption

defect and remove the risk of the subject vehicles engines vulnerable to catastrophic failure in

the course of their normal operation.

III.   Estoppel

       180.    Defendant was under a continuous duty to disclose to the Plaintiffs the true

character, quality, and nature of the subject vehicles.

       181.    Defendant knowingly, affirmatively, and actively concealed the true nature,

quality, and character of the subject vehicles from Plaintiffs, and Defendant never intended to

repair the oil consumption defect in the subject vehicles.



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       182.    Based on the foregoing, Defendant is estopped from relying on any statutes of

limitations in defense of this action.

IV.    Class Action Tolling

       183.    The statutes of limitation applicable to Plaintiffs’ claims – including, without

limitation, their breach of express warranty and implied warranty claims – have additionally

been tolled by class action tolling in light of the Bang v. BMW of North America, LLC (Case

No. 2:15-CV-6945) Complaint, filed September 18, 2015, and the Second Amended

Complaint, filed in that case on March 21, 2016, (attached hereto as Exhibit A). See, e.g.,

Mitchell Tracey v. First Am. Title Ins. Co., 935 F. Supp. 2d 826, 839 (D. Md. 2013) (applying

class action tolling and noting that the “Maryland Court of Appeals has adopted American

Pipe and its progeny.”).

                              FIRST CAUSE OF ACTION
                   Breach of Warranty Pursuant to the Magnuson-Moss
                          Warranty Act, 15 U.S.C. §2301, et seq.

       184.    The Plaintiffs incorporate by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       185.    The Plaintiffs are each a “consumer” as defined in 15 U.S.C. § 2301(3).

       186.    Defendant is a “supplier” and “warrantor” as defined in 15 U.S.C. § 2301(4)

and (5).

       187.    The subject vehicles are each a “consumer product” as defined in 15 U.S.C. §

2301(6). 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is damaged

by the failure of a warrantor to comply with a written or implied warranty.

       188.    15 U.S.C. § 2304(a)(1) requires Defendant, as a warrantor, to remedy any

defect, malfunction or nonconformance of the subject vehicles within a reasonable time and

without charge to the Plaintiffs.

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       189.    Despite repeated demands, Defendant has failed to remedy the subject

vehicles’ oil consumption defect within a reasonable time, and/or a reasonable number of

attempts, thereby breaching the written and implied warranties applicable to the subject

vehicles.

       190.    As a result of Defendant’s breaches of written and implied warranties, and

Defendant’s failure to remedy the same within a reasonable time and without charge to

Plaintiffs, Plaintiffs have suffered damages.

                            SECOND CAUSE OF ACTION
    Breach of Implied Warranty of Merchantability Pursuant to the Magnuson-Moss
     Federal Act, 15 U.S.C. §2301, et seq. and MD Code, Commercial Law, § 2-314

       191.    Plaintiffs incorporate by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       192.    Defendant is a merchant with respect to motor vehicles.

       193.    The subject vehicles were each subject to implied warranties of

merchantability, as defined in 15 U.S.C. § 2308 and MD Code, Commercial Law, § 2-314,

running from the Defendant to the Plaintiffs.

       194.    An implied warranty that the subject vehicles were merchantable arose by

operation of law as part of the purchase of the subject vehicles.

       195.    Defendant breached the implied warranty of merchantability in that the subject

vehicles were not in merchantable condition when the Plaintiffs purchased them, or at any

time thereafter, and the subject vehicles are unfit for the ordinary purposes for which such

vehicles are used.

       196.    Indeed, the subject vehicles each suffered from an oil consumption defect,

which is a significant safety concern in that it prevents the subject vehicles’ engines from

maintaining the proper level of engine oil, and causes voluminous oil consumption that cannot
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be reasonably anticipated or predicted. Therefore, the oil consumption defect is unreasonably

dangerous because it can cause engine failure while the subject vehicle is in operation at any

time and under any driving conditions or speeds, thereby exposing the subject vehicle’s

driver, passengers, and others who share the road with them, to serious risk of accidents and

injury.

          197.   Plaintiffs notified Defendant of the defects in the subject vehicles within a

reasonable time after Plaintiffs discovered them.

          198.   As a result of Defendant’s breaches of the implied warranty of merchantability,

Plaintiffs have suffered damages, including but not limited to incidental and consequential

damages.

                          THIRD CAUSE OF ACTION
   Breach of Express Warranty Pursuant to the MD Code, Commercial Law, § 2-313

          199.   Plaintiffs incorporate by reference all of the above paragraphs of this

Complaint as though fully stated herein.

          200.   In connection with the sale of the subject vehicles to the Plaintiffs, Defendant

provided the Plaintiffs with a New Vehicle Limited Warranty and Certified Pre-Owned

Warranty, under which it agreed to repair original components found to be defective in

material or workmanship under normal use and maintenance, including the engine and its

components.

          201.   Plaintiffs relied on Defendant’s warranties when they agreed to purchase or

lease the Class Vehicles and Defendant’s warranties were part of the basis of the bargain.

          202.   Plaintiffs submitted their vehicles for warranty repairs as referenced herein.

Defendant failed to comply with the terms of the express written warranty provided to each




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Plaintiff, by failing and/or refusing to repair the oil consumption defect under the vehicles’

warranty as described herein.

       203.    Plaintiffs have given Defendant reasonable opportunities to cure said defect,

but Defendant has been unable to and/or has refused to do so within a reasonable time.

       204.    As a result of said nonconformities, Plaintiffs cannot reasonably rely on the

subject vehicles for the ordinary purpose of safe, comfortable, and efficient transportation.

       205.    The Plaintiffs could not reasonably have discovered said nonconformities with

the subject vehicles prior to Plaintiffs’ acceptance of the subject vehicles.

       206.    The Plaintiffs would not have purchased or leased the subject vehicles, or

would have paid less for the subject vehicles, had they known, prior to their respective time of

purchase or lease, that the subject vehicles contained the oil consumption defect.

       207.    As a direct and proximate result of the willful failure of Defendant to comply

with its obligations under the express warranties, Plaintiffs have suffered actual and

consequential damages. Such damages include, but are not limited to, the loss of the use and

enjoyment of their vehicles, and a diminution in the value of the subject vehicles containing

the defects identified herein.

                             FOURTH CAUSE OF ACTION
                           Unfair and Deceptive Trade Practices
                         MD Code, Commercial Law, § 13-301, et seq.

       208.    The Plaintiffs incorporate by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       209.    The sale of the subject vehicles to the Plaintiffs under the guise that they were

free from defects that would substantially impair the use, safety, or value of the subject

vehicles represents an unlawful or deceptive trade practice under MD Code, Commercial

Law, § 13-301, et seq.
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       210.    In the course of Defendant’s business, it willfully failed to disclose and

actively concealed that the subject vehicles are defective. The existence of the defect, which

manifests in all or substantially all of the subject vehicles, is material to a reasonable

consumer in that it poses an unreasonable risk to their safety, may lead to thousands of dollars

in repair expenses, requires expensive and inconvenient maintenance efforts, and causes the

subject vehicles to be worth substantially less than they would otherwise be valued.

Defendant’s failure to disclose the defects and their ramifications offends public policy and is

unethical, unscrupulous, and substantially injurious to consumers. Defendant also made

affirmative misstatements, as set forth above.

       211.    Defendant engaged in unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices, including representing that subject vehicles

have characteristics, uses, benefits, and qualities which they do not have and otherwise

engaging in conduct likely to deceive.

       212.    Specifically, and as alleged above, Defendant knew or should have known that

the twin-turbo charged engine had one or more defects that causes the subject vehicles to be

unable to properly utilize the engine oil and, in fact, to improperly burn off and/or consume

abnormally high amounts of oil. The oil consumption defect decreases the lubrication

available to engine parts, which results in premature failure. As a consequence, the oil

consumption defect requires unreasonably frequent oil changes and/or the addition of oil

between scheduled oil changes.

       213.    The oil consumption defect also is a significant safety concern in that it

prevents the subject vehicles’ engines from maintaining the proper level of engine oil, and

causes voluminous oil consumption that cannot be reasonably anticipated or predicted.



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Therefore, the oil consumption defect is unreasonably dangerous because it can cause engine

failure while the subject vehicle is in operation at any time and under any driving conditions

or speeds, thereby exposing the subject vehicle’s driver, passengers, and others who share the

road with them, to serious risk of accidents and injury.

       214.       Defendant acquired knowledge of the oil consumption defect prior to Plaintiffs

acquiring the subject vehicles, through sources not available to consumers such as Plaintiffs,

including but not limited to pre-production and post-production testing data, early consumer

complaints about the engine defect made directly to Defendant and its network of dealers,

aggregate warranty data compiled from Defendant’s network of dealers, testing conducted by

Defendant in response to these complaints, as well as warranty repair and parts replacement

data received by Defendant from Defendant’s network of dealers, amongst other sources of

internal information.

       215.       While Defendant knew about the oil consumption defect, and its safety risks

since mid-2008, if not before, Defendant nevertheless concealed and failed to disclose the

defective nature of the subject vehicles and their engines to Plaintiffs at the time of purchase

and thereafter.

       216.       By failing to disclose and concealing the defective nature of the N63 engine

from Plaintiffs, Defendant violated the Pennsylvania Unfair Trade Practices and Consumer

Protection Law as they represented that the subject vehicles and their engines had

characteristics and benefits that they do not have, and represented that the subject vehicles and

their engines were of a particular standard, quality, or grade when they were of another.




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       217.    The facts concealed or not disclosed by Defendant to Plaintiffs are material in

that a reasonable person would have considered them to be important in deciding whether or

not to purchase the subject vehicles.

       218.    Had Plaintiffs known that the subject vehicles and their engine were defective

at the time of purchase, they would not have purchased the subject vehicles.

       219.    In addition, the Defendant’s failure and refusal to repair the subject vehicles is

likewise an unfair and deceptive practice.

       220.    Further, the Defendant violated MD Code, Commercial Law, § 13-301, et seq.,

in one or more of the following ways:

           a. Making of fraudulent and/or negligent representations, as herein before
              alleged;

           b. Representing the subject vehicles to be of good, merchantable quality, free of
              defects, when in fact they were not;

           c. Failing to reveal material facts including, but not limited to, the nature of the
              nonconformities and defects complained of herein.

       221.    The Defendant is in the business of selling private automobiles and therefore

the violations are likely to affect the general public, now and in the future.

       222.    The Defendant violated the law willfully and knowingly.

                                   DEMAND FOR RELIEF

       WHEREFORE, the Plaintiffs demand judgment against Defendant as follows:

               a. An order approving revocation of acceptance of the subject vehicles;

               b. Money damages, in the form of a refund of the full contract prices,

                   including, trade-in allowance, taxes, fees, insurance premiums, interest, and

                   costs, and a refund of all payments made by Plaintiffs on the subject

                   contracts;


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              c. Equitable relief including, but not limited to, replacement of the subject

                 vehicles with new vehicles, or repair of the defective subject vehicles with

                 an extension of the express and implied warranties, and service contracts

                 which are or were applicable to the subject vehicles, in the event that

                 Plaintiffs are not found to be entitled to revocation;

              d. Incidental and consequential damages;

              e. Treble and punitive damages;

              f. Reasonable attorney’s fees;

              g. Such other and further relief as this Court deems just and proper.

                  TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: February 13, 2019

                                            Respectfully submitted,

                                    By:     /s/ Sergei Lemberg
                                            Sergei Lemberg, Esq.
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                              CERTIFICATE OF SERVICE

       THIS IS TO CERTIFY that on February 13, 2019, a true and correct copy of the

foregoing First Amended Complaint was filed electronically with the U.S. District Court ECF

system and that the copy of such filing was served upon the attorney of record for each other

party using the Court’s CM/ECF system.


                                             By /s/ Sergei Lemberg
                                                    Sergei Lemberg
